   Case 5:19-cv-02072-ODW-SP Document 3 Filed 10/29/19 Page 1 of 2 Page ID #:15
AO 440 (Rev. 06/12) Summons in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Northern District of California


 MICHAEL TRUJILLO, individually and on behalf of all                  )
            others similarly situated,                                )
                                                                      )
                                                                      )
                           Plaintijj(s)                               )
                                V.
                                                                      )
                                                                              Civil Action No.
                                                                      )
  Free Energy Savings Company, LLC, d/b/a Quality                     )
  Conservation Services, a Delaware limited liability                 )
                     company,                                         )
                                                                      )
                          D,!fendant(s)                               )

                                                  SUMMONS IN A CIVIL ACTION

To: (D~fendant's name and address) Free Energy Savings Company, LLC
                                   c/o Corporation Service Company
                                   251 Little Falls Drive
                                   Wilmington, DE 19808




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) -you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                 Afshin Siman (Cal bar no. 309956)
                                 Law Office of Afshin Siman
                                 6210 Wilshire Blvd Ste. 211
                                 Los Angeles, CA
                                          424-229-9778

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
        ----------
                                                                                           Signature qf Clerk or Deputy Clerk
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 Civil Action No.

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name <?f individual and title, if any)
 was received by me on (date)

           0 I personally served the summons on the individual at (place)
                                                                                           ---------···   ------ -~- . - - · - - - --·-·--~-----·-----------
                                                                                      on (date)                                      ; or

           0 I left the summons at the individual's residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                                         , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                      on (date)                                      ; or

           0 I returned the summons unexecuted because                                                                                                ; or

           0 Other (spec(fy):




           My fees are$                            for travel and $                       for services, for a total of$                       0


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                                   Server's signature



                                                                                                Printed name and title




                                                                --~----·-----------     ------------·----···-- - - - - - - · - - - - - - - - -
                                                                                                    Server's address

 Additional information regarding attempted service, etc:
